                                  STATE OF MARYLAND
                       DEPARTMENT OF BUDGET AND MANAGEMENT
                      OFFICE OF PERSONNEL SERVICES AND BENEFITS                     EXHIBIT C
                                   301 West Preston Street
                                 Baltimore, Maryland 21201

                            POSITION DESCRIPTION
REVIEW INSTRUCTIONS PRIOR TO COMPLETION

                      PART I.     IDENTIFYING POSITION INFORMATION


ITEMS 1-6 to be completed by Agency Personnel Office.
1. PIN:                                        2. CLASS CODE/GRADE

3.     SERVICE                                       4.    IS THIS POSITION DESIGNATED AS A
                                                           SPECIAL APPOINTMENT?
5.     OVERTIME STATUS                               6.    AGENCY APPROPRIATION CODE


ITEMS 7-13 to be completed by the supervisor.
7.      Current Employee's Name, if applicable                          Mac Love
8.      Class Title
        Working Title, if different                              Deputy Director
9.      Department or Agency Name            Governor’s Office of Community Initiatives
        Division, Unit or Section                              Executive
10.     Work Location/Address               301 West Preston Street, Baltimore, MD 21201
11.     Name of Immediate Supervisor                            Steven McAdams
        Title of Immediate Supervisor                     GOCI Executive Director

12. Work Schedule (Check all that apply)

              Permanent Day Shift                           Rotating Shift

              Permanent Evening Shift                       Full Time

              Permanent Night Shift                         Part Time

              Other (Explain)

13. If applicable, how long has the current employee been performing the duties listed below?
      Current employee began on November 14, 2011.


                                PART II.   POSITION FUNCTIONS

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ITEMS 1-7      If additional space is required, attach a separate sheet.

1. MAIN PURPOSE OF THE JOB: Briefly describe the main purpose of this position and how
   it related to the mission of the agency.

   The Deputy Director is the lead staff member on all special events and initiatives for GOCI.
   The Director works closely with the Executive Director to promote opportunities and other
   resources available from the State, and establish relationships with nonprofits, government,
   and for profit organizations to further GOCI’s mission.

   The Deputy Director will also serve as the administrative director of the Governor’s
   Commission on Caribbean Affairs.

2. ESSENTIAL JOB FUNCTIONS AND OTHER ASSIGNED DUTIES: List duty and
   responsibility statements that identify the essential job functions and other assigned duties.
   Essential job functions are the fundamental job duties of a position that if not performed will
   alter the job. (Identify essential job functions by highlighting, underlining, etc.)

  % of Time and/or
     Weight of
    Importance          Job Duty
        30%             Events Management:
                            Manage logistics of Commission Retreat, Maryland Municpal
                               League, and Maryland Association of Counties and other events as
                               requested.

                               Serves as liaison for citations and proclamations

        30%                    Serve as point of contact for event partners.

                        Public Engagement:
                            Represent GOCI and the Governor’s Office as requested at
                               networking meetings, volunteer recognition, trainings, and other
                               events.
                               Promote, manage, and expand collaboration and partnerships with
                                community groups.

                               Leverage community relationships and resources to advance the
                                goals of GOCI
                               Collect and regularly promote information about all streams of
                                State resources available to Maryland communities.

                               Serve as GOCI point person on special projects and initiatives




30%
                        Governor’s Commission on Caribbean Affairs:
                        Initiates, develops and implements goals, policies and procedures for the
                        Commission as required in the Annotated Code of Maryland. Provides

                                                  2
                       executive staff support to the Commission in planning and administering
                       Commission initiatives and projects.

                       Directs the day-to-day operations of the Commission office and of staff,
                       volunteers and interns.

                       Provides programmatic and logistical assistance to the Commission and
                       subcommittees, including monthly Commission meetings. Arranges
                       logistics, and reviews and prepares notices, agendas and minutes for all
                       Commission meetings.

                       Responds to inquiries directed to the Commission, handles
                       correspondence for the Commission, and generally serves as a
                       clearinghouse for information pertinent to issues of interest to
                       constituents.

                       Prepares reports including annual and weekly reports as required and/or
                       requested by the Governor and/or supervisors within the Governor’s
                       Office of Community Initiatives.

                       Appears as the Commission’s representative before State, federal and
                       local officials to advise and discuss the needs and concerns of the Native
                       American community in Maryland.

                       Coordinates all activities of the Commission. Develops and promotes
                       public education and awareness of issues and concerns of Native
                       Americans in Maryland. Oversees the maintenance and update of the
                       Commission’s website.

                       Maintains liaison with other State agencies, boards and commissions.
         10%
                       Other duties as assigned.


   LEVEL, FREQUENCY AND PURPOSE OF WORK CONTACTS: List the contacts that
   this position has with individuals within the division, agency and department as well as other
   State agencies, other government agencies, private companies, clients, customers, vendors
   and the general public. These contacts may be in person, in writing or by telephone. Indicate
   how often the contact occurs. State the purpose of each contact, for example, to provide
   information, to explain procedures or decisions, to persuade or negotiate.

   Caribbean Community - daily
   Governor’s Office of Community Initiatives – daily
   Governor and Lt. Governor – as requested
   Stage Agencies – as requested
   Community Organizations and Advocacy Groups – as requested

3. DECISIONS AND RECOMMENDATIONS: List the decisions and recommendations that
   this position makes which are necessary to carry out essential job functions. State to whom
   recommendations are made.

   The Special Projects Director decides the best course of action for responding to requests for
   GOCI to lead special events and projects.
                                                3
4. EQUIPMENT USED: List equipment, machinery and tools used to complete this job, e.g.
   personal computer, calculator, typewriter, hand tools, measuring devices and lab equipment.

     All work is completed via personal computer (MS Office). The OM also regularly uses the
     telephone, fax machine, and training equipment as needed (such as laptop computers, LCD
     projectors, other A/V equipment, etc.).

     Staff members are required to travel throughout Maryland as part of their core duties. A
     condition of employment is access to reliable transportation during the employment period.

5. NATURE OF SUPERVISION RECEIVED: Check the type of supervision that is given to
   this position. See instructions Part II, Item 6 for definition of terms.

        Close Supervision
        Moderate Supervision
        General Supervision
        Managerial Supervision

6.    WORKING CONDITIONS:             (Check all that apply)

        Work involves exposure to uncomfortable or unpleasant surroundings. (Explain)

        Work involves exposure to hazardous conditions which may result in injury. (Explain)

        Work involves special physical demands such as lifting 50 pounds or more, climbing
        ladders, etc. (Explain)

        Work requires use of protective equipment such as goggles, gloves, mask, etc. (Explain)

     In general, working conditions at the GOSV are standard office conditions.

     However, employees may attend program site visits or community service projects that
     expose them to unpleasant surroundings or involve exposure to hazardous conditions (e.g.
     water monitoring project, tree planting, home repairs, or construction). These conditions
     occur infrequently for GOSV employees.




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            PART III.     RESPONSIBILITIES FOR THE WORK OF OTHERS


This section should be completed if this position is responsible for the work of others. This
includes full and part-time permanent employees, contractual or emergency employees,
volunteers, reimbursable or loaned employees. If additional space is required, attach a separate
sheet.

NATURE AND LEVEL OF RESPONSIBILITY FOR WORK OF OTHERS:
A supervisor assigns and reviews the work of others, trains employees, recommends the
selection, promotion and termination of employees, approves leave and signs time cards, signs
annual performance evaluations, determines and resolves procedural problems within the unit,
serves as spokesperson for subordinates, explains policies and directives from management and
issues formal disciplinary reminders, warnings and reprimands.

A lead worker assigns and reviews the work of others, instructs and motivates workers, is
available for immediate assistance or review and performs the work of the classification.

a) Does this position supervise employees?                Yes            No
b) Does this position lead employees?                     Yes            No

   If yes, to a or b, list the names and classifications of the employees that this position
   supervises or leads.


c) Check the ways that this position supervises or leads these employees. (Check all that
   apply).

       Assigns and reviews work
       Approve leave, sign time card
       Sign annual performance ratings
       Interview & select new employees
       Train employees—staff, Interns, Fellows
       Discipline employees (counsel, recommend suspension & termination) Do any of the
   employees supervised have supervisory responsibility? If so, list them and the names and
   classifications of those they supervise or attach an approved organization chart.




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                                PART IV.      PERFORMANCE STANDARDS

PERFORMANCE STANDARDS: For each essential job function described in Part II, list the
standard(s) necessary for satisfactory performance. If additional space is required, attach a
separate sheet.

Have considerable tact and discretion to work with the public and whenever addressing issues
pertaining to the community.

Be able to perform duties with independent judgment and decision-making.

Be able to travel to events and meetings throughout the State as required.

Regularly provide updated information to the Executive Director.

Establish and maintain partnerships with governmental agencies, community organizations,
advocacy groups, and individuals.

Provide weekly reports and memos outlining the meetings and activities.




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                                    PART V.      SIGNATURES


    The following signatures indicate acknowledgment by the employee of the information on this
    form, when applicable, and approval by the supervisor and appointing authority.




    Employee's Signature                                            Date


    Supervisor's Signature                                          Date


    Appointing Authority or Designee                                Date




Form MS-22
Revised 10/96




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